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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

  BRIAN HUDDLESTON,


                   Plaintiff,                            CIVIL ACTION No. 4:20CV447

                                                         JUDGE AMOS MAZZANT
                   v.

  FEDERAL BUREAU OF INVESTIGATION
  and UNITED STATES DEPARTMENT OF
  JUSTICE,


                   Defendants.


        DEFENDANTS’ RESPONSE TO PLAINTIFF’S SUPPLEMENTAL MOTION
            FOR INTERIM PAYMENT OF COSTS AND ATTORNEY FEES

         Defendants Federal Bureau of Investigation (“FBI”) and United States Department of

 Justice (“DOJ”) file this response in opposition to Plaintiff’s Supplemental Motion for Interim

 Payment of Costs and Attorney Fees (the “Supplemental Motion”). ECF 165.

         Defendants’ position regarding interim fees has not changed since the parties previously

 briefed the issue, and Defendants incorporate and rely on their previously filed Response and Sur-

 Reply regarding Plaintiff’s Motion for Interim Payment of Costs and Attorney’s Fees, ECF 59, 66,

 their Response to Plaintiff’s Supplemental Motion for Interim Payment of Costs and Attorney

 Fees, ECF 103, and their Response and Sur-Reply to Plaintiff’s Supplemental Motion for Interim

 Payment of Costs and Attorney’s Fees, EFC 145, 147. The Supplemental Motion does not raise

 any new legal arguments. Instead, it incorporates his prior requests. ECF 165 at 1. As previously

 argued, interim fees are disfavored in all but the most exceptional circumstances because litigating

 fees is burdensome and inefficient, and it delays resolution on the merits. See, Allen v. FBI, 716


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 F.Supp. 667, 667–72 (D.D.C. 1989); Biberman v. FBI, 496 F.Supp. 263, 265 (S.D.N.Y. 1980). As

 before, Plaintiff has failed to establish exceptional circumstances that warrant consideration of

 interim fees, and his motion should be denied.

         As previously argued, should the Court be inclined to grant interim fees, Defendants would

 request additional time to address the substantive merits of Plaintiff’s fee demand. Plaintiff has not

 established exceptional circumstances that warrant the consideration of interim fees, and his

 motion should be denied.

                                                    Respectfully submitted,

                                                    DAMIEN M. DIGGS
                                                    UNITED STATES ATTORNEY

                                                    /s/ James Gillingham
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                                     CERTIFICATE OF SERVICE

         I hereby certify that on July 29, 2024, a true and correct copy of the foregoing document
 was filed electronically with the court and has been sent to counsel of record via the court’s
 electronic filing system.

                                                    /s/ James Gillingham
                                                    JAMES GILLINGHAM
                                                    Assistant United States Attorney




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